Case 8:08-cr-00223-AG Document 87 Filed 10/08/08 Page lofi Page ID #:251

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

United States of America CASE NUMBER
PLAINTIFF(S) SACR 08-223 JVS
v.
Jerry F Lin, et al. ORDER RE TRANSFER PURSUANT TO
GENERAL ORDER 08-05
DEFENDANT(S). (Related Criminal Case)
CONSENT

I hereby consent to the transfer of the above-entitled case to my ‘Gua er] Ordey)8-05.
Oct T i OO 6 Andrew Guilfor

Date United States District Judge

 

 

DECLINATION

I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth below:

 

 

 

 

 

Date United States District Judge

 

REASON FOR TRANSFER AS INDICATED BY COUNSEL
Case _SACR 08-191 AG and the present case:
WA. Arise out of the same conspiracy, common scheme, transaction, series of transactions or events; or

(1B. Involve one or more defendants in common, and would entail substantial duplication of labor in pretrial,
trial or sentencing proceedings if heard by different judges.

 

Notice to Counsel from Clerk

On all documents subsequently filed in this case, please substitute the initials AG after the case
number in place of the initials of the prior judge, so that the case number will read SACR 08-223 AG

 

This is very important because traditionally filed documents are routed to the assigned judge by means of these initials.

Traditionally filed subsequent documents must be filed at the: 0 Western © Southern UO Eastern Division.
Failure to file at the proper location will result in your documents being returned to you.

cc: OPSALA 1 PSASA OPSAED OUSMLA OUSMSA OUSMED & Previous Judge W Statistics Clerk

 

CR-59 (12/07) ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 08-05 (Related Criminal Case)
